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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

ERIC MAGLIONE, individually and on behalf
of all others similarly situated,
                                                  Case No.: 3:25-cv-00821-SRU
       Plaintiffs,

v.

YALE NEW HAVEN HEALTH,
                                                  Judge Stefan R. Underhill
       Defendant.


     [PROPOSED] ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION FOR
       EXTENSION OF TIME TO FILE ANSWER OR OTHERWISE RESPOND TO
                  PLAINTIFF’S CLASS ACTION COMPLAINT

       Before the Court is Defendant’s Unopposed Motion for Extension of Time to File Answer

or Otherwise Respond to Plaintiff’s Class Action Complaint. The Court, having considered the

Motion, finds there is good cause and that Defendant’s motion should be GRANTED. It is

therefore:

       ORDERED that Defendant’s Unopposed Motion for Extension of Time to File Answer or

Otherwise Respond to Plaintiff’s Class Action Complaint is GRANTED. It is further:

       ORDERED that Defendant’s original answer or other responsive pleading shall be filed

on or before July 23, 2025.


                                                  __________________________________
                                                  PRESIDING JUDGE




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